                                          Case 5:22-cv-04325-EJD Document 152 Filed 10/27/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     FEDERAL TRADE COMMISSION,                           Case No. 22-cv-04325-EJD (SVK)
                                   8                    Plaintiff,
                                                                                             ORDER OF RECUSAL FROM
                                   9             v.                                          HEARING DISPUTE RE SUBPOENA
                                                                                             TO NON-PARTY APPLE INC.
                                  10     META PLATFORMS INC., et al.,
                                                                                             Dkt. 139
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                              This Court, having been assigned to this case for discovery referral purposes, recuses itself
                                  13
                                       from hearing the discovery dispute raised in the Joint Statement Regarding Dispute on Subpoena to
                                  14
                                       Non-Party Apple Inc. Dkt. 139. The Clerk of Court is directed to reassign disposition of this motion
                                  15
                                       [Dkt. 139] to another magistrate judge.
                                  16
                                              SO ORDERED.
                                  17
                                       Dated: October 27, 2022
                                  18
                                  19

                                  20                                                                  SUSAN VAN KEULEN
                                                                                                      United States Magistrate Judge
                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
